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      5   Attorney for Defendant,
          HARBANS KAUR HOTHI
      6

      7

      8                         IN THE UNITED STATES DISTRICT COURT
      9                      EASTERN DISTRICT OF CALIFORNIA, FRESNO
     10                                          * * * * *
     11

     12                                              ) CASE NO.: CR-F-04-5291 OWW
          UNITED STATES OF AMERICA
                                                     )
     13               Plaintiff,                     ) ORDER TO EXONERATE BOND
                                                     )
     14   v.                                         )
                                                     )
     15                                              )
          HARBANS KAUR HOTHI,
                                                     )
     16                                              )
                      Defendant.
                                                     )
     17

     18
                IT   IS   HEREBY      ORDERED,   that    the    bond   posted     in   the   above
     19
          entitled     matter    be    exonerated     and      the   defendants    passport     be
     20
          returned.
     21

     22
          Dated: July _14____, 2006
     23

     24

     25
                                                 It is so ordered,

     26
                                                 _/s/ OLIVER W. WANGER
     27                                               ____________
                                                 Hon. OLIVER W. WANGER,
     28                                          United States District Court Judge

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                                                                           Order to Exonerate Bond
                                                                              Case No. 04-5291 OWW


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                                                                     Order to Exonerate Bond
                                                                        Case No. 04-5291 OWW


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